    Case 9:22-cr-80056-RLR Document 67 Entered on FLSD Docket 01/06/2023 Page 1 of 1
    Case 9:22 -cr-80056-RLR            Document 62 Entered on FLSD Docket 12/14/2022 Page 2 of 2
Financial Arrangements:

I ✓ II certify that I have made satisfactory arrangements with the Court Reporter(s) for paying the cost of the
     transcript(s).

D Criminal Justice Act: My completed AUTH-24 for government payment of transcripts has been uploaded in
     eVoucher and is ready for submission to the magistrate judge or district judge [if appointed by the district
     court] or to the circuit judge [if ordered by or appointed by the circuit court] . [A transcript of the following
     proceedings will be provided only if specifically authorized in Item 13 on the AUTH-24: Voir Dire;
     Opening and Closing Statements of Prosecution and Defense; Prosecution Rebuttal ; Jury Instructions.]

Ordering Counsel/Party:_M
                        _ . C_a_r_o_lin_e_M_cC_r_a_e_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
Address: 250 S Australian Avenue, Suite 400 , West Palm Beach, Florida 33401
E-mail: caroline_mccrae@fd .org                                            Phone No.: 561-833-6288
                                                                                     ------------
1 ✓ I I certifv that I have completed and filed Part I with the District Coui1 AND the Court of Appeals,
     served all parties, AND sent a copv to the appropriate Court Reporter(s) if ordering a transcript. l l th
     Cir. R. 10-l .

Date: 12/14/ 2022          Signature: s/Michael Caruso                          Attorney for:_K_ev_in_F_us_c_o_ _ _ __

PART II.                                Court Reporter Acknowledgment
Within 14 days of receipt, the Court Reporter must complete this section, file this form with the District Court,
AND send a copy of this form to the Court ofAppeals and all parties. The transcript must be filed within 30
days of the date satisfactory arrangements for paying the cost of the transcript were made unless the Court
Reporter obtains an extension of time to file the transcript.

Date Transcript Order received:        ltf1../1-S'~ R:Z.
~
~
     Satisfactory arrangements for paying the cost of the transcript were made on:      /~S"'/efl...t:>~
                                                                                              I
D Satisfactory arrangements for paying the cost of the transcript have not been made.
No. of hearing days :_ __;2.
                          ___________
Estimated no. of transcript pages:        /SC>
Estimated filing date:     t>1/1.s;J~ci?a?,
~      certifv that I have completed and filed Part II with the District Court AND sent a copv of this form
     to the Court of Appeals and all parties. ~               _                 .            --5"i, / -

Date: /,ll~;z_
         ~
                          Signature:             ~ C7 J ' ~                               PhoncNo.:    f?t6-85{8f
PART III.                         Notification That Transcript Has Been Filed In District Court
 On the date the transcript is filed in the district court, the Court Reporter must complete this section, file this
form with the District Court, AND send a copy of this form to the Court ofAppeals.

ro   I certif that the transcri
     AND that I have sent a c
                                                      ted and filed    .     he district court on date :
                                                                                                         ~
                                                                                                           /c7/4Q£~9.


                                                      Page 2 of 2
                                                                                                             Rev. 11 /22
